Case 19-11372-btb Doc 14 Entered 03/26/19 23:26:18 Page 1 of 10

Fill in this information to identify your case and this filing:

 

Debtom JOEL CROSBY S|NNOTT

 

 

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of

19-11372-BTB

Case number

 

El check if this is an
amended filing

 

Ofticial Form 106A/B
Schedule AlB: Property 12/15

|n each category, separately list and describe items. List an asset only once. |f an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. lf two married people are filing together, both are equally
responsible for supplying correct information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

m Describe Each Residence, Building, Land, or other Real Estate You own or Have an interest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

El No. Go to Part 2.
a Yes. Where is the property?

what ls the property? Check all that app|y' Do not deduct secured claims or exemptions. Put

w Single-family home the amount of any secured claims on Schedule D:

1_1_ 8720 CaStie VieW AVel`er Creditors Who Have Claims Secured by Property.

n Du lex or multi-unit buildin
Street address, if availab|e, or other description p g

 

 

 

 

n C°"d°mi"ium °r cooperative Current value of the Current value of the
El Manufactured or mobile home entire property? portion you own?
El Land $ 420,000.00 $ 420,000.00
n lnvestment property
L_as Vegas NV 89129 n Timeshare Describe the nature of your ownership
C'ty State Z'P C°de interest (such as fee simp|e, tenancy by
n Other

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one. Fee Simp|e

 

 

C|ark g Debtor 1 only
County n Debtor 2 only
cl Debt°r1 and Debtor 2 only n Check lf thls ls community property

in tr i n
m At least one of the debtors and another (See s uct 0 s)

Other information you wish to add about this item, such as local
property identification number:

 

lf you own or have more than one, list here:

What ls the pr°pe ky ' Check all that app|y' Do not deduct secured claims or exemptions. Put
El Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

1_2_ n Dup|ex or multi_unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description _ _ _
n C°nd°m'n'um °r °°°Pe"ai'Ve Current value of the Current value of the
El Manufactured or mobile home entire Property? portion you own?
El Land $ $
m lnvestment property
. Describe the nature of your ownership
City State ZlP Code m T'meshare interest (such as fee simp|e, tenancy by
cl Other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
n Debtor‘l only

 

 

County El Debtor 2 only
cl Debt°r`i and Debi°r 2 On|y n Check if this is community property
m At least one of the debtors and another (See inStrUCtiOnS)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule AIB: Property page 1

CaS€ 19-11372-btb DOC 14 Entered 03/26/19 23226:18

 

 

 

 

 

Debtor1 JOEL CROSBY slNNoT Case number (mw", 9- 1372-BTB
First Name Middle Name Last Name
What is the Pr°Perty? Check ali that aPP|y- Do not deduct secured claims or exemptions Put
- _ - the amount of any secured claims on Schedule D:
1-3- n Smg|e fam"y h_om? _ _ Creditors Who Have Claims Secured by Property.
Street addressl if available, or other description n Duplex or multl-unlt bulldlng
n Condominium or cooperative Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
m Land $ $
n lnvestment property
City State ZlP Code cl Timeshare Describe the nature of your ownership
cl interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
n Debtor1 only
County n Debtor 2 only
E| Debtor1 and Debtor 2 only n Check if this is community property
m At least one of the debtors and another (See 'nstruct'ons)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 420’000_00
you have attached for Part 1. Write that number here. ...................................................................................... ') _

m Describe Your Vehicles

 

Page 2 of 10

 

 

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnclude any vehicles
you own that someone else drives. lf you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

El No
g Yes
3_1_ Make: Ford
Model: F'250
Year: 2004
174000

Approximate mileage:

Other information:

Super Duty 4x4

 

 

 

 

lf you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Ofticial Form 106A/B

Who has an interest in the property? Check one.

2 Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

El At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

El At least one of the debtors and another

El Check if this is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

$ 12,000.00 $ 12,000.00

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

page 2

Case 1
JOEL CROSBY S|NNOT

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Who has an interest in the property? Check one.

Debtor 1
First Name Middle Name Lgsr Name
3.3. Make:
Mode|- El Debtor1 only
n Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

Make:
Model:

3.4.

Year:
Approximate mileage:

Other information:

 

 

 

 

n Debtor1 and Debtor 2 only
El At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

El At least one of the debtors and another

El Check if this is community property (see
instructions)

Case number (ifknown) 9

Page 3 of 10

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels snowmobiles, motorcycle accessories

El No
n Yes

4_1_ Make:
Model:
Year:

Other information:

 

 

 

 

lf you own or have more than one, list here:

Make:
Model:

4.2.

Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........................................................................................................................ ')

Ofticial Form 106A/B

Who has an interest in the property? Check one.
n Debtor1 only

m Debtor 2 only

m Debtor1 and Debtor 2 only

m At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

El At least one of the debtors and another

El Check if this is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

$ 12,000.00

 

 

 

page 3

JOEL CCI_`§\(§§BJYQ§%L[\EL'§(§_|Z_-btb DOC 14 Entered 03/26/19 23226:18 P§?1e34 flO

Debtor 1 Case number (ifknown) 19 72'BTB

 

First Name Middle Name Last Name

m Describe Your Personal and Household items

Do you own or have any legal or equitable interest in any of the following items? current value of the

portion you own?
Do not deduct secured claims

or exemptions
6. Househo|d goods and furnishings
Examples: Major appliances furniture, linens china, kitchenware
El No
il Yes. Describe ......... Washer and Dryer $ 400.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers printers scanners; music
collections; electronic devices including cell phones cameras media players games
El No
2 Yes. Describe .......... 42" TV $ 500.00
8. Co||ectibles of value
Examples: Antiques and ngrines; paintings prints or other artwork; books pictures or other art objects;
stamp, coin, or baseball card collections; other collections memorabilia, collectibles
a No
n Yes. Describe .......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles pool tables golf clubs skis; canoes
and kayaks; carpentry tools; musical instruments
El No
2 Yes. Describe .......... Bowf|ex $ 500_00
10. Firearms
Examples: Pistols rifles shotguns ammunition, and related equipment
a No
n Yes. Describe .......... $
11.C|othes
Examples: Everyday clothes furs leather coats designer wear, shoes accessories
El No _ _ _
2 Yes. Describe .......... 3 SU|tS» ]eans» Sh"'ts $ 500.00
12.Jewe|ry
Examples: Everydayjewelry, costume jewelry, engagement rings wedding rings heirloom jewelry, watches gems,
gold, silver
n N° 800 00
a Yes. Describe ........... 1 Wedding ring $ '
13. Non-farm animals
Examples: Dogs, cats, birds horses
El No
2 Yes. Describe ........... _ 200-00
4 dogs mlxed breeds $_
14.Any other personal and household items you did not already list, including any health aids you did not list
2 No
n Yes. Give specific $
information. ..............

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .................................................................................................................................................... 9

$ 2,900.00

 

 

 

Ofticial Form 106A/B Schedule AlB: Property page 4

JOEL CCR§:§§ 19- 113 2- Tbtb DOC 14 Entered 03/26/19 23.26.18 Pga?%B 37_BZ

 

 

 

 

 

 

 

 

 

 

 

Debtor1 BY S|NN Case number (ifknown)
First Name Middle Name Last Name
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current Va|lle °f the
portion you own?
Do not deduct secured claims
or exemptions
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
El No
2 YeS ................................................................................................................................................................ Cash: _______________________ $ 65_00
17. Deposits of money
Examples: Checking, savings or other financial accounts; certificates of deposit; shares in credit unions brokerage houses
and other similar institutions lf you have multiple accounts with the same institution, list each.
n No
a Yes ..................... lnstitution name:
17.1. Checking acoount: US Bank $ 1,831-06
17.3. Savings acoount: $
17.4. Savings acoount: $
17.5. Certiflcates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other nnancial account: $
17.9. Other financial account: $

 

18. Bonds mutual funds or publicly traded stocks
Examples: Bond funds investment accounts with brokerage nrms, money market accounts

ZNo

El Yes ................. lnstitution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture

 

 

No Name of entity: % of ownership:
El Yes. Give specific 0% %
information about o
them ......................... 0 A’ %
0% %

 

Official Form 106A/B Schedule AlB: Property page 5

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Debtor1 JOEL CROSS€BY S|NNOTT Case number (,,,m°wn, 1372- BTB

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks cashiers’ checksl promissory notes and money orders
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
El Yes. Give specific issuer name:

information about
them ....................... $

 

 

 

21. Retirement or pension accounts
Examples: interests in lRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
n Yes. List each
account separately. Type of account: institution name:
401 (k) or similar plan: $
Pension plan: $
lRA; $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22.Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords prepaid rent, public utilities (electric, gas water), telecommunications

companies or others

a No

n Yes .......................... institution name or individual:
Electric: $
Gas: $
Heating oii: $
Security deposit on rental unit: $
Prepaid rent: $
Teiephone: $
Water: $
Rented fumiture: $
Other: $

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
m Yes .......................... issuer name and description:
$
$

 

Official Form 106A/B Schedule AlB: Property page 6

JOEL CC§%S§B\l(QS-l[\]l[§g_|Z-btb DOC 14 Entered 03/26/1$(9:aze3:1:121b6e:r%iwm 1|:;)§ 193772_ fT]BO

Firsr Name Middle Name Last Name

Debtor 1

 

 

24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
No
n Yes ....................................

institution name and description. Separately nle the records of any interests.11 U.S.C. § 521(c):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

.No

n Yes. Give specific
information about them.... $

26. Patents copyrights trademarks trade secrets and other intellectual property
Examples: lnternet domain names websites, proceeds from royalties and licensing agreements

ZNo

n Yes. Give specific
information about them.... $

27. Licenses, franchises and other general intangibles
Examples: Building permits exclusive licenses cooperative association holdings liquor licenses professional licenses

-No

n Yes. Give specific
information about them.... $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28.Tax refunds owed to you
No

n Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years .......................

Federal: $

Local:

29. Fami|y support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No
El Yes. Give specific information ..............

A|imony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settiement: $
30. Other amounts someone owes you
Examples: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No
El Yes. Give specific information ............... s

Official Form 106A/B Schedule AlB: Property page 7

 

 

 

 

 

 

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Debtor1 JOEL CR BY S|NNOT Case number(,.,,m°wm 9- 1372-BTB
Filsr Name Middle Name Last Name
31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners or renter’s insurance
2 No
Ei YeS- Name the insurance COmpany Company name; Beneficiary: Surrenderor refund value:
of each policy and list its value.
32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.
2 No
El Yes. Give specific information ..............
$
33. Claims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes insurance claims or rights to sue
2 No
El Yes. Describe each claim. ....................
$
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
2 No
El Yes. Describe each claim. ....................
$
35.Any financial assets you did not already list
2 No
2 Yes. Give specific information ............ s
36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... 9 $ 2’002'39

 

 

 

m Describe Any Business-Related Property You own or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
2 No. co to Part 6.
El Yes. co to line 38.
Current value of the

portion you own?

Do not deduct secured claims
or exemptions

38.Accounts receivable or commissions you already earned

2 No
n Yes. Describe .......

39. Office equipment, furnishings and supplies
Examples: Business-re|ated computers software, modems, printers copiers fax machines rugs telephones desks chairs electronic devices

ElNo

2 Yes. Describe ....... _ $ 1,000.00
computer, printer, scanner, cell phone, lap top _

Official Form 106A/B Schedule AlB: Property page 8

 

 

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Debtor1 JQEL CROSBY S|NNOTT Case number (mwm19- 1372-BTB

40. Machinery, fixtures equipment, supplies you use in business and tools of your trade

2 No

2 Yes. Describe ....... hand tools $ 500_()0
41.|nventory

2 No

2 Yes. Describe ....... $

42. interests in partnerships or joint ventures

'No

2 Yes. Describe ....... Name of entity: % of ownership:

% $
%
% $

 

69

 

 

43. Customer lists mailing lists or other compilations
2 No
2 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
2 No
2 Yes. Describe ........

44.Any business-related property you did not already list
2 No
2 Yes. Give specific

 

information .........

 

 

 

69$$$$$

 

 

45. Add the dollar value of ali of your entries from Part 5, including any entries for pages you have attached $ 1 ’500_0()
for Part 5. Write that number here .................................................................................................................................................... 9 _

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You own or Have an interest ln.
if you own or have an interest in farmiand, list it in Part 1.

 

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
2 Yes. Go to line 47.

Current value of the

portion you own?

Do not deduct secured claims
or exemptions

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

2 No
2 Yes ..........................

Official Form 106A/B Schedule AlB: Property page 9

JOEL 8§%%%?-$1|&§|%21_-_};)@ DOC 14 Entered 03/26/19 23:26:18 ng|e 1031c 10

Debtor1 Case number (irlmewnl 1

 

Filsr Name Middle Name Last Name

48. Crops-either growing or harvested

2No

2 Yes. Give specific
information. ............ $

49. Farm and fishing equipment, implements machinery, fixtures and tools of trade
2 No
2 Yes ..........................

50. Farm and fishing supplies chemicals and feed

2 No
2 Yes ..........................

51.Any farm- and commercial fishing-related property you did not already list
2 No

2 Yes. Give specific
information. ............ $

 

52. Add the dollar value of ali of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here .................................................................................................................................................... 9

 

 

 

m Describe Ali Property You own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already iist?
Examples: Season tickets country club membership
No
2 Yes. Give specific
information. ............

 

54.Add the dollar value of ali of your entries from Part 7. Write that number here ................................................................. 9 $

 

 

 

List the Totals of Each Part of this Form

 

55.Part1: Totai real estate, line 2 .............................................................................................................................................................. 9 $ 420'000'00

56. Part 2: Totai vehicles, line 5 12,000-00

€B

$ 2,900.00

57. Part 3: Totai personal and household items line 15
58. Part 4: Totai financial assets line 36 $ 2'002'39

59. Part 5: Totai business-related property, line 45 $ 1 '500'00

60. Part 6: Totai farm- and fishing-related property, line 52 $ O'OO

61. Part 1: Totai other property not listed, line 54 + $ O-OO

$ 18,402.39

62.Totai personal property. Add lines 56 through 61. .................... Copy personal property total -) -|- $ 18,402.39

 

63.Totai of all property on Schedule AIB. Add line 55 + line 62 .......................................................................................... $ 438’402'39

 

 

 

Official Form 106A/B Schedule AlB: Property page 10

